       Case 1:14-cr-00090-DLH          Document 12       Filed 05/22/14      Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,                    )
                                             )      ORDER
               Plaintiff,                    )
                                             )
       vs.                                   )
                                             )      Case No.:1:14-cr-090
Michael Albert Larrabee,                     )
                                             )
               Defendant.                    )


       The court convened a arraignment and detention hearing in the above-entitled action on May

22, 2014. At the outset of the hearing, defendant’s court-appointed counsel, AFPD Heather

Mitchell, advised the court of a conflict and requested leave to withdraw as defense counsel. The

court GRANTS the request and authorizes Ms. Mitchell to withdraw. The court shall appointed new

counsel for defendant. In the interim, defendant’s arraignment and detention hearing are cancelled

with the understanding that they will be rescheduled for date and time to be determined.

       IT IS SO ORDERED.

       Dated this 22nd day of May, 2014.


                                                    /s/ Charles S. Miller, Jr.
                                                    Charles S. Miller, Jr., Magistrate Judge
                                                    United States District Court
